                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JULIAN R. HOOD, JR.,

               Plaintiff,
                                                              CASE NO. 1:15-cv-609
v.
                                                              HON. ROBERT J. JONKER
OFFICE OF PERSONNEL MANAGEMENT,

            Defendant.
__________________________________/

                            ORDER APPROVING AND ADOPTING
                             REPORT AND RECOMMENDATION

       The Court has reviewed Magistrate Judge Kent’s Report and Recommendation in this matter

(docket # 38) and Plaintiff Hood’s Objections to the Report and Recommendation (docket # 39).

Under the Federal Rules of Civil Procedure, where, as here, a party has objected to portions of a

Report and Recommendation, “[t]he district judge . . . has a duty to reject the magistrate judge’s

recommendation unless, on de novo reconsideration, he or she finds it justified.” 12 WRIGHT,

MILLER, & MARCUS, FEDERAL PRACTICE AND PROCEDURE § 3070.2, at 381 (2d ed. 1997).

Specifically, the Rules provide that:

               The district judge must determine de novo any part of the magistrate
               judge’s disposition that has been properly objected to. The district
               judge may accept, reject, or modify the recommended disposition;
               receive further evidence; or return the matter to the magistrate judge
               with instructions.

FED R. CIV. P. 72(b)(3). De novo review in these circumstances requires at least a review of the

evidence before the Magistrate Judge. Hill v. Duriron Co., 656 F.2d 1208, 1215 (6th Cir. 1981).

The Court has reviewed de novo the claims and evidence presented to the Magistrate Judge; the

Report and Recommendation itself; and Plaintiff's objections. After its review, the Court finds that

Magistrate Judge Kent’s Report and Recommendation is factually sound and legally correct.
         The Magistrate Judge recommends: (1) denying Plaintiff’s motions to amend; (2) granting

Plaintiff’s motion for voluntary dismissal to the extent it withdraws his proposed amendments to

the amended complaint; (3) denying Plaintiff’s motions to transfer; and (4) granting Defendant’s

motion to dismiss. In his objections, Mr. Hood primarily reiterates and expands arguments made

in his motion papers. The Report and Recommendation already carefully, thoroughly, and

accurately addresses these arguments. Nothing in Plaintiff’s objections changes the fundamental

analysis. The Court agrees with the Magistrate Judge’s conclusion that Defendant is entitled to the

relief it seeks, for the very reasons the Report and Recommendation delineates.

         ACCORDINGLY, IT IS ORDERED that the Report and Recommendation of the

Magistrate Judge (docket # 38) is approved and adopted as the opinion of the Court.

         IT IS FURTHER ORDERED that Plaintiff Hood’s motions to amend (docket ## 13, 14,

15, 17, and 24) are DENIED.

         IT IS FURTHER ORDERED that Plaintiff Hood’s motion for voluntary dismissal (docket

# 31) is GRANTED to the extent it withdraws his proposed amendments to the amended

complaint.

         IT IS FURTHER ORDERED that Plaintiff Hood’s motions to transfer (docket ## 32 and

35) are DENIED.

         IT IS FURTHER ORDERED that Defendant Office of Personnel Management’s motion

to dismiss (docket # 28) is GRANTED.

         This case is DISMISSED.



Dated:        August 18, 2016                 /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE

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